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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

   MARK HALE, TODD SHADLE, and
   LAURIE LOGER, on behalf of themselves and
   all others similarly situated,
                                                                Case No. 3:12-cv-00660-DRH-SCW
                          Plaintiffs

               v.                                               Judge David R. Herndon

   STATE FARM MUTUAL AUTOMOBILE                                 Magistrate Judge Stephen C. Williams
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

                          Defendants.



                     PLAINTIFFS’ NOTICE OF REMAINING PRETRIAL ISSUES

               On August 15, 2018, the Court ordered that the parties file a notice of any remaining

   issues. [893]. In their Trial Brief [901], Plaintiffs identified the following issues that they

   contend should be resolved prior to trial of this matter:

               1.     Pursuant to Plaintiffs’ conspiracy proffer, whether statements of coconspirators

   are admissible against Defendants under FRE 801(d)(2)(E);

               2.     Whether the Noerr-Pennington doctrine applies to Plaintiffs’ claims;

               3.     Whether, per Defendants’ proposed jury instructions and despite this Court’s prior

   ruling [846], the statute of limitations has run as a matter of law;

               4.     Whether Wojcieszak is an agent of Hale Plaintiffs’ Counsel during the period

   2006 to 2012;

               5.     Whether State Farm’s statements about its political activities and civil justice

   reform efforts are admissible as business records under FRE 803(6);

               6.     Whether Plaintiffs can introduce deposition testimony of a State Farm agent or

   coconspirator even if the witness is otherwise available;



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               7.     Whether otherwise admissible exhibits must be sponsored by or tethered to a

   particular witness in order to be introduced as evidence;

               8.     Whether the testimony of a former class representative whose case has been

   dismissed with prejudice is admissible; and

               9.     Whether current State Farm policy holders should be excluded for cause from

   serving on the jury.

               In addition, Plaintiffs identify the following additional issues:

               1.     The process of using evidentiary summaries (and the admissibility of the

   evidentiary summaries tendered by Plaintiffs pursuant to Federal Rules of Evidence 902(11),

   902(13), and 1006;

               2.     The relevance and admissibility of Defendant State Farm’s summary of asbestos-

   related lawsuits brought in Madison County against numerous corporations and in which State

   Farm had no involvement;

               3.     How the Court wants the parties to handle impeachment of a witness using

   deposition video clips;

               4.     Whether a party must lay a foundation to joint exhibits or exhibits to which there

   is no objection prior to using such exhibits; and

               5.     Competing proposed jury instructions.

               Plaintiffs advise that they have no objection to either the Court’s proposed revised trial

   schedule or to the evidentiary summary presentation proposal, and respectfully submit their

   preference that the trial begin as currently scheduled on September 4, 2018.




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               Plaintiffs further advise that they continue to meet and confer with Defendants on various

   issues, and respectfully reserve their right to identify additional issues as may become apparent

   prior to the August 29, 2018 hearing.


   Dated: August 22, 2018                                Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

               Pursuant to Local Rule 7.1(b), I certify that a copy of the foregoing was served upon

   counsel via the Court’s CM/ECF system.


                                                              /s/ Robert J. Nelson




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